            CASE 0:19-cr-00226-WMW-HB Doc. 87 Filed 01/12/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                                Case No. 19-cr-0226 (WMW/HB)

                             Plaintiff,
                                                  FINAL ORDER OF FORFEITURE
       v.

Michael Ice Tate,

                             Defendant.


       WHEREAS, on July 9, 2020, this Court entered a Preliminary Order of Forfeiture

forfeiting certain property to Plaintiff United States of America pursuant to 18 U.S.C.

§ 924(d)(1) and 28 U.S.C. § 2461(c);

       WHEREAS, the United States posted a Notice of Criminal Forfeiture for at least

30 consecutive days on an official government internet site (www.forfeiture.gov),

beginning on July 18, 2020, providing notice of the government’s intention to dispose of

the property in accordance with law, and of the right of third parties to petition the Court

within 60 days of the first date of posting for a hearing to adjudicate the validity of their

alleged legal interest in the property; and

       WHEREAS, no petitions have been filed with the Clerk of Court and the time for

filing a petition has expired.

       NOW, THEREFORE, IT IS HEREBY ORDERED that:

       1.       Plaintiff United States of America’s motion for a final order of forfeiture,

(Dkt. 85), is GRANTED.
        CASE 0:19-cr-00226-WMW-HB Doc. 87 Filed 01/12/21 Page 2 of 2




      2.     All right, title and interest in the AMT Hardballer, .45 caliber, semi-

automatic pistol, bearing the serial number A11442 and all associated accessories and

other ammunition, are hereby forfeited to and vested in the United States pursuant to 18

U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c).

      3.     The United States shall dispose of the property in accordance with law.

      LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: January 12, 2021                               s/Wilhelmina M. Wright
                                                      Wilhelmina M. Wright
                                                      United States District Judge




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